                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - DETROIT

In re:                                                      Case No. 12-63795-TJT
         David T. Otis

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tammy L. Terry, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 10/26/2012.

         2) The plan was confirmed on 05/01/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
10/07/2015, 06/14/2017, 07/11/2017.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 05/10/2018.

         5) The case was dismissed on 06/11/2018.

         6) Number of months from filing to last payment: 64.

         7) Number of months case was pending: 68.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $6,802.04.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)



   12-63795-tjt      Doc 122     Filed 06/20/18      Entered 06/20/18 12:29:29         Page 1 of 4
Receipts:

          Total paid by or on behalf of the debtor                     $121,170.52
          Less amount refunded to debtor                                     $0.00

NET RECEIPTS:                                                                                            $121,170.52


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                            $8,140.72
    Court Costs                                                                          $0.00
    Trustee Expenses & Compensation                                                  $7,618.45
    Other                                                                                $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                          $15,759.17

Attorney fees paid and disclosed by debtor:                             $200.00


Scheduled Creditors:
Creditor                                                  Claim         Claim            Claim       Principal       Int.
Name                                            Class   Scheduled      Asserted         Allowed        Paid         Paid
Adat Shalom                                 Unsecured      1,725.00            NA              NA            0.00        0.00
American Eye Institute                      Unsecured         255.00           NA              NA            0.00        0.00
Animal Emergency Center, PLLC               Unsecured         500.00           NA              NA            0.00        0.00
Ashley Funding Services, LLC its successo   Unsecured            NA           0.00        2,101.14           0.00        0.00
Beaumont Hospitals                          Unsecured            NA           0.00       21,251.07           0.00        0.00
Beaumont Laboratory                         Unsecured         693.10           NA              NA            0.00        0.00
Beaumont Reference Laboratory               Unsecured          36.79           NA              NA            0.00        0.00
Build Your Firm                             Unsecured         783.29           NA              NA            0.00        0.00
Cardiology Associates of MI                 Unsecured         240.00           NA              NA            0.00        0.00
Chase                                       Unsecured         156.17           NA              NA            0.00        0.00
Cheryl A. Larson                            Unsecured            NA       1,107.00        1,107.00           0.00        0.00
Compass Self Storage                        Unsecured           0.00           NA              NA            0.00        0.00
Credit Acceptance Corp.                     Unsecured           0.00           NA              NA            0.00        0.00
Credit Acceptance Corp.                     Secured              NA     14,867.96        14,867.96     12,998.68    4,793.00
Creditors Service Bureau of Niles, Inc.     Unsecured         240.00           NA              NA            0.00        0.00
Dept.. of Licensing & Regulatory Affair     Unsecured      3,107.00            NA              NA            0.00        0.00
Detroit Jewish News                         Unsecured         600.00           NA              NA            0.00        0.00
Ear, Nose & Throat Consultants              Unsecured         140.00           NA              NA            0.00        0.00
Fifth Third Bank                            Unsecured         695.40           NA              NA            0.00        0.00
Freedman & Goldberg                         Unsecured      3,000.00            NA              NA            0.00        0.00
Glendale Neurological Assoc, PC             Unsecured         175.00           NA              NA            0.00        0.00
Glendale Nuerological Ass. PC               Unsecured          30.00           NA              NA            0.00        0.00
GOLD LANGE MAJOROS                          Unsecured            NA           0.00        2,483.89           0.00        0.00
Henry Ford Heath System                     Unsecured      1,519.69            NA              NA            0.00        0.00
Hospital Consultants                        Unsecured         895.00           NA              NA            0.00        0.00
Huntington National Bank                    Unsecured         400.00           NA              NA            0.00        0.00
Independant Emergency Physicians            Unsecured         621.80           NA              NA            0.00        0.00
Intuit, Inc.                                Unsecured      3,500.00            NA              NA            0.00        0.00
Karmanos                                    Unsecured         107.84           NA              NA            0.00        0.00
Lakes Urgent Care                           Unsecured          36.72           NA              NA            0.00        0.00
MACPA                                       Unsecured         750.00           NA              NA            0.00        0.00



UST Form 101-13-FR-S (9/1/2009)



  12-63795-tjt           Doc 122            Filed 06/20/18      Entered 06/20/18 12:29:29                Page 2 of 4
Scheduled Creditors:
Creditor                                                Claim         Claim         Claim         Principal       Int.
Name                                          Class   Scheduled      Asserted      Allowed          Paid          Paid
Marc Dunn, M.D.                           Unsecured         150.00           NA           NA              0.00        0.00
Michigan Bell Telephone Company           Unsecured            NA         589.13       589.13             0.00        0.00
Michigan Department of Treasury           Unsecured            NA          59.90        59.90             0.00        0.00
Michigan Department of Treasury           Priority             NA          44.44        44.44            44.44        0.00
Michigan Endoscopy Ctr, LLC               Unsecured         150.40           NA           NA              0.00        0.00
Michigan Insurance Company                Unsecured         278.19           NA           NA              0.00        0.00
Mill Pointe of Waterford Association      Secured              NA       2,680.00     2,680.00        2,577.54         0.00
Mill Pointe of Waterford Association      Secured        1,200.00       1,200.00     1,200.00        1,090.70         0.00
Nahid D. Elyas, MD                        Unsecured         250.00           NA           NA              0.00        0.00
NATIONSTAR MORTGAGE                       Secured              NA     22,330.28     22,330.28       20,296.53         0.00
NATIONSTAR MORTGAGE                       Secured              NA     63,610.46     66,732.10       63,610.46         0.00
Northwestern Services                     Unsecured          72.00           NA           NA              0.00        0.00
Novi Chophouse                            Unsecured     10,408.60            NA           NA              0.00        0.00
Patrick Coleman - SD Landscaping          Unsecured         126.00           NA           NA              0.00        0.00
PNC Bank                                  Unsecured         721.00           NA           NA              0.00        0.00
Portfolio Recovery Associates, LLC        Unsecured            NA           0.00       831.84             0.00        0.00
Priority Health                           Unsecured      1,930.92            NA           NA              0.00        0.00
Providence Park Hospital                  Unsecured      5,966.75            NA           NA              0.00        0.00
QUEST DIAGNOSTICS                         Unsecured          38.70           NA           NA              0.00        0.00
Robert Bachman                            Unsecured            NA           0.00    39,000.00             0.00        0.00
Rubenstein, Isaacs P.C.                   Unsecured            NA           0.00     2,476.00             0.00        0.00
Sokol Ndrejaj                             Unsecured      5,500.00            NA           NA              0.00        0.00
Southeast Michigan Neurosurgery           Unsecured         615.00           NA           NA              0.00        0.00
Southfield Radiology Assoc.               Unsecured          19.01           NA           NA              0.00        0.00
St. John Providence - Physician Billing   Unsecured      7,000.00            NA           NA              0.00        0.00
Stephen Peck d/b/a Miracle League of MI   Unsecured      3,095.00            NA           NA              0.00        0.00
Thomson-Reuters                           Unsecured         697.42        697.42         0.00             0.00        0.00
Trowbridge Restaurants, Inc.              Unsecured     10,408.60            NA           NA              0.00        0.00
Verizon Wireless Bankruptcy Admin.        Unsecured         944.35           NA           NA              0.00        0.00


Summary of Disbursements to Creditors:
                                                                       Claim           Principal                 Interest
                                                                     Allowed               Paid                     Paid
Secured Payments:
      Mortgage Ongoing                                           $66,732.10         $63,610.46                   $0.00
      Mortgage Arrearage                                         $22,330.28         $20,296.53                   $0.00
      Debt Secured by Vehicle                                    $14,867.96         $12,998.68               $4,793.00
      All Other Secured                                               $0.00              $0.00                   $0.00
TOTAL SECURED:                                                  $103,930.34         $96,905.67               $4,793.00

Priority Unsecured Payments:
       Domestic Support Arrearage                                      $0.00                  $0.00               $0.00
       Domestic Support Ongoing                                        $0.00                  $0.00               $0.00
       All Other Priority                                             $44.44                 $44.44               $0.00
TOTAL PRIORITY:                                                       $44.44                 $44.44               $0.00

GENERAL UNSECURED PAYMENTS:                                      $73,779.97           $3,668.24                   $0.00




UST Form 101-13-FR-S (9/1/2009)



  12-63795-tjt          Doc 122           Filed 06/20/18      Entered 06/20/18 12:29:29               Page 3 of 4
Disbursements:

         Expenses of Administration                           $15,759.17
         Disbursements to Creditors                          $105,411.35

TOTAL DISBURSEMENTS :                                                                     $121,170.52


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/20/2018                             By:/s/ Tammy L. Terry
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)



   12-63795-tjt     Doc 122       Filed 06/20/18      Entered 06/20/18 12:29:29           Page 4 of 4
